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                                                                                            !L   :
                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS                         18PR2G PH3:Lg
                                  AUSTIN DIVISION                                CLERK.               (JRT
                                                                                wTrp             çXAS
UNITED STATES OF AMERICA                           §
                                                   §
V.                                                 §        AO8-CR-337(l)-LY
                                                   §
GEORGE LEWIS ESCAMILLA, SR.                        §



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       Before the court is Defendant's "Motion for Compassionate Release and/or Reduction in

Sentence Program Under 18 U.S.C. Section 3582(c)(1)(A)." The court lacks jurisdiction to grant

compassionate release under section 3582(c)(1)(A), where the BOP director has not filed a motion

requesting a modification of sentence. Under that section, only the BOP Director has the discretion

to ask a court to reduce a term of imprisonment.

       It is therefore ORDERED that the "Motion for Compassionate Release and/or Reduction in

Sentence Program Under 18 U.S.C. Section 3582(c)(1)(A)," filed by Defendant on April 19, 2018,

is DISMISSED.

       SIGNED this                   day of April, 2018.




                                             UNITED STATES
